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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY



  MARIO DAMAS,                                            Civil Action No. 17-6511 (CCC)

                    Plaintiff,

          v.
                                                          60 DAY ORDER ADMINISTRATIVELY
  QUALITY ASSET RECOVERY, LLC,
                                                              TERMINATING ACTION
           Defendant.



       It having been reported to the Court that the above-captioned action has been settled,
       IT IS on this 16th day of February , 2018,
       ORDERED that this action and any pending motions are hereby administratively
terminated; and it is further
       ORDERED that this shall not constitute a dismissal Order under Federal Rule of Civil
Procedure 41; and it is further
       ORDERED that within 60 days after entry of this Order (or such additional period
authorized by the Court), the parties shall file all papers necessary to dismiss this action under
Federal Rule of Civil Procedure 41 or, if settlement cannot be consummated, request that the
action be reopened; and it is further
       ORDERED that, absent receipt from the parties of dismissal papers or a request to
reopen the action within the 60-day period, the Court shall dismiss this action, without further
notice, with prejudice and without costs.



                                                        ____s/Claire C. Cecchi      .
                                                         CLAIRE C. CECCHI, U.S.D.J.
